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AO 93 (Rev, 12i09) Search and Seizure Warrant

 

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico

in the Matter of the Search of

(Briejl_v describe ii'ze property to be searched
or identify iiie person by name riiizi` address)

Case No. icb-b oo£|*‘\)

One USPS Priority Nlai| parcel with label affixed to it
bearing tracking 9505 5147 8464 9079 0809 73

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the '|udicial District of Puerto Rico

 

(idei:iijfi) nlra peisoii or describe ihe proper r_v to i)e seam/ied raid give its ioccrii'ori)

One USPS F'riority Mai| parcel with label aff xed to it bearing tracking #9505 5147 8464 9079 0809 73.

'l`he person or property to be searched, described above, is believed to conceal (ideniifv rim person ordescribt» rise

pi operi_v io be sei:- ed).
Controlled substances materials and documents reflecting the distribution of controlled substances through the U. S

Mai!s, including money and/or monetary instruments consisting of payment and/or proceeds relative to the distribution
of controlled substances
I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or

property.

 

YOU ARE COMMANDED to execute this warrant on or before '+ L{ iiai
(noi io'exceed 14 dri_vs)
d in the daytime 6:00 a.m. to 10 p.m. l:l at any time in the day or night as I find reasonable cause has been
established

Un|ess delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as re § ed b law and mpt|y return this warrant and inventory to
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on.dut.y¢-

 

    
 
 

Cl l find that immediate noti ication may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property. will be
S€al‘Ch€d Ol‘ S€ized (ci'ieek the apprr)pi'iriie bo.r)` l:l for days (iioi to erceed` 3()).

|:l until, the facts justifying,t ter specific date of

  
 

 

Date and time issued: M Z; §*-{ O,A 1 _
SAN JUAN, PUEHTO HiCO . ' . " » Jz¢dge' ssignanire\§ ;S\N'

City and state:

 

 

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AO 93 (Rev. 12/09) Search and Sei:rire iVarrant (Page .?)

 

Retu rn

 

Case No..' Date and time warrant execzited.' Copy of warrant and inventory left witii.'

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Inventory made in the presence Of. _`
\/€X?Dm CQ ii~lé,r~l'i nez

 

Inventory ofthe property taken and name of any person(s) seized.‘

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nyse pass permit pasath rio the

cum.
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firrwa resell lqu dfw

 

Certificatian

 

 

l declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge

Daie.- § l 11 i g gi Cf 671 w,¢Z>

%xecnting ojicer 's signature

Are|is Rivera, U.S, Fostal inspector

 

Pr't`nted name and title

 

 

